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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

____________________________________
CHRISTINA WILLIAMS and MICHAEL :
STERMEL, on behalf of themselves and all :
others similarly situated,                :            CASE NO. 2:18-cv-02747-MSG
                                          :
                        Plaintiffs,       :
                                          :
               vs.                        :
                                          :
RED STONE, INC., as successor in interest :
to MACFARLANE GROUP, INC.,                :
MEDLEY OPPORTUNITY FUND II, LP, :
MARK CURRY, BRIAN MCGOWAN,                :
VINCENT NEY, and other JOHN DOE           :
Persons or entities,                      :
                                          :
                        Defendants.       :


                         ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiffs Christina Williams and Michael Stermel (“Plaintiffs”), by counsel, and

Defendants Red Stone, Inc. et al., by counsel, having filed their Stipulation of Dismissal with

Prejudice between Plaintiffs and Defendants, AND THE COURT, having been duly advised,

NOW FINDS that the same should be granted.

       IT IS, THEREFORE, ORDERED that all claims of Plaintiffs Christina Williams and

Michael Stermel against Defendants Red Stone, Inc. et al. are dismissed, with prejudice.

Plaintiffs shall each bear their own costs and attorneys’ fees.

       IT IS FURTHER ORDERED that, notwithstanding the positions taken and arguments

made by all parties in this case, this Court will retain jurisdiction over this matter for the sole and

limited purpose and only to the extent necessary to enforce the terms and conditions of the

parties’ Confidential Settlement Agreement and Release.
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Date:   November 2, 2020                        /s/ Mitchell S. Goldberg
                                               JUDGE, United States District Court
                                               Eastern District of Pennsylvania
